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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA,

                 Plaintiff,

         v.                                                Case No. 93-cr-40050-JPG

  DAVID REED,

                 Defendant.

                                MEMORANDUM AND ORDER

        This matter comes before the Court on defendant David Reed’s motion for

 reconsideration (Doc. 174) of the Court’s order denying him leave to proceed in forma pauperis

 in his appeal of the March 31, 1994, judgment and conviction in this case. The Court DIRECTS

 the Clerk of Court to TRANSFER this motion to the Court of Appeals. After an initial denial of

 in forma pauperis status by the District Court, the proper step is to make the request to the Court

 of Appeals. See Fed. R. App. P. 24(a)(5).

 IT IS SO ORDERED.
 DATED: February 19, 2010

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE
